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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,
                                              §
                                              §
       Plaintiffs,
                                              §
                                              §       Civil Action No. 1:17-cv-00365-DAE-AWA
vs.
                                              §
                                              §
GRANDE COMMUNICATIONS
                                              §
NETWORKS LLC,
                                              §
                                              §
       Defendant.
                                              §
                                              §
                                    PLAINTIFFS’ NOTICE

        On July 29, 2019, this Court granted Grande’s Opposed Motion for Leave (Dkt. No. 281)

 and entered the supplemental brief attached thereto (as Dkt. No. 284).

        Plaintiffs addressed the substance of Grande’s supplemental brief in Plaintiffs’ Opposition

 to the Motion for Leave (Dkt. No. 283) and rest on those arguments, which are incorporated by

 reference here. Grande’s Motion for Evidentiary Sanctions (Dkt. No. 247) is meritless and should

 be denied.

 Dated: August 6, 2019                       Respectfully submitted,

                                             By: /s/ Robert B. Gilmore
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that on August 6, 2019, all counsel of record who are deemed to
have consented to electronic service are being served with a copy of this document via the Court’s
CM/ECF system pursuant to Local Rule CV-5(b)(1).


                                             /s/ Daniel C. Bitting
                                             Daniel C. Bitting




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